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                       EXHIBIT 1
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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
THI MILLER, individually and on behalf of
all others similarly situated,
               Plaintiff,                              Case No. 12-cv-04961
v.
                                                       [Hon. Judge St. Eve]
RED BULL NORTH AMERICA, INC., a
California corporation,
               Defendant.


                              DECLARATION OF JAY EDELSON

Pursuant to 28 U.S.C. § 1746, I Jay Edelson, hereby declare and state as follows:

        1.     I am over the age of eighteen and am fully competent to make this declaration. I

make this declaration based upon personal knowledge unless otherwise indicated. If called upon

to testify, I could and would competently do so.

        2.     I am an attorney admitted to practice in the State of Illinois and in the United

States District Court for the Northern District of Illinois, and other federal district courts. I am

making this declaration in support of Plaintiff’s Uncontested Motion for Approval of Attorney’s

Fees, Expenses, and Incentive Award.

        3.     I am the Managing Partner of the law firm Edelson LLC. Edelson LLC was

retained by Plaintiff Thi Miller for the purpose of bringing this litigation and I, along with other

members of my firm, have been appointed Class Counsel in this case.

        4.     My firm has extensive experience prosecuting class actions and other complex

litigation of similar nature, scope, and complexity, and also has intimate knowledge of the law in

the field of cellular telephony and has been a pioneer in the field of consumer class actions

involving the transmission unauthorized text messages under the TCPA. The first federal Circuit

Court opinion authorizing consumer suits for unauthorized text messages was litigated by the


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predecessor firm to Edelson LLC, and subsequent reported opinions in federal courts in

California, Illinois, and other federal districts around the country have also been secured by the

attorneys at Edelson LLC. Edelson LLC and its predecessors have litigated and settled several

substantial text message class actions under the TCPA, including: Weinstein v. The Timberland;

Co., et al. (N.D. Ill. 2008); Satterfield v. Simon & Schuster (N.D. Cal. 2010); Lozano v.

Twentieth Century Fox (N.D. Ill. 2011); Kramer v. Autobytel (N.D. Cal. 2011); and Rojas v.

Career Education Corporation (N.D. Ill. 2012).

       5.      A true and accurate copy of the Edelson LLC Firm Resume is attached hereto as

Exhibit 1-A.

       6.      At the time of filing this case, I was aware that my firm would spend hundreds, if

not thousands, of hours on attorney time in contested litigation with no guarantee of success.

       7.      Defendant Red Bull North America, Inc. (“Red Bull”) retained the law firm of

Kirkland & Ellis LLP, a national law firm, to represent them in this case.

       8.      Over the past year, members of my firm have spent over 877 hours representing

the Plaintiff and the Settlement Class without any compensation. Performing work on this case

required my firm to forgo other potential matters and employment.

       9.      Following their Rule 26(f) conference, the Parties exchanged initial disclosures,

and Plaintiff propounded discovery on Defendant and other third parties. It was at this juncture

that the Parties agreed to attempt to resolve this litigation through private mediation. In the

weeks leading up to mediation, the Parties informally exchanged certain documents and other

information that would be needed to effectively engage in the mediation process.

       10.     On November 6-7, 2012, the Parties met for a formal mediation with former

District Judge Wayne Andersen. After two days of mediation, additional exchanges of




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information, and several rounds of arm’s-length negotiations—all with the assistance of Judge

Andersen—the Parties made a great deal of progress toward a classwide settlement, but were still

unable to come to terms. Certain issues remained unresolved, and while the Parties agreed to

continue talking, they did not commit to any further mediation sessions.

       11.     After several additional rounds of negotiations (all at arm’s-length and presided

over by Judge Andersen) that took place over the course of the next two months, the Parties

agreed to another in-person mediation session, which took place on January 10, 2013. Although

the Parties were able to agree on the principal terms of class relief at that time, they reached an

impasse on remaining issues.

       12.     Judge Andersen convened another mediation session on February 25, 2013. With

Judge Andersen’s assistance, the Parties were able to resolve all remaining issues. Notably,

however, the Parties did not agree—much less even discuss— any amount of attorneys’ fees

payable to Class Counsel. Rather, Class Counsel—determined to not delay the relief to the Class

with continued negotiations over attorneys’ fees— agreed to simply file a fee petition with the

Court and committed to not seek more than $2,000,000 in attorneys’ fees and costs.

       13.     On June 13, 2013—the deadline to file their fee petition—and again with Judge

Andersen’s assistance through separate telephone conferences, the Parties finally came to an

agreement on attorneys’ fees and costs in the amount of $1,275,000.00, subject to Court

approval.

       14.     Class Counsel’s requested fee award represents only 21% of the $6,000,000 made

available to fund the Settlement.

       15.     Awarding fees based on a percentage of the overall fund made available to the

Class is supported by Plaintiff’s retainer agreement with Class Counsel, as well as fee awards in




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similar class actions within this District. A true and accurate copy of Plaintiff Miller’s executed

retention letter with Edelson LLC is attached hereto as Exhibit 1-B.

       16.      By taking this case on a contingency basis and not being paid by the hour, my

firm had an incentive to conduct our efforts efficiently. So too, being responsible for advancing

all expenses, we had an incentive not to expend funds unnecessarily.

       17.      The retainer agreement between Class Counsel and Plaintiff contains a

contingency fee arrangement whereby Plaintiff previously agreed that a “fair award of attorneys’

fees from a fund recovered for the class would be one-third of the total recovery plus

reimbursement of all costs.” (See Ex. B.)

       18.      I believe that my firm assumed a significant risk of non-payment in initiating and

prosecuting this case given the novelty of the legal issues involved and the vigorous defense that

Defendant and its highly skilled counsel were prepared to mount should the litigation have

proceeded on.

       19.      Class Counsel was also threatened with the possibility that Red Bull would

ultimately prevail on its “direct relationship” argument—i.e., that each Class Member consented

to receive future text messages when they voluntarily provided Red Bull with their cell phone

numbers. Further, Class Counsel’s fronting of attorney time and the costs of litigation in this case

on a fully contingent basis was especially risky because the issue of whether the TCPA applies to

text messages has yet to be presented to the Seventh Circuit. Equally untested is whether the

type of equipment used to transmit en masse text messages falls within the TCPA’s statutory

definition of “automatic telephone dialing system.”

       20.      As is the general practice of most law firms, each of the attorneys and law clerks

at Edelson LLC are responsible for keeping track of their billable time. The majority of these




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records are centralized in a billing management software program, to which all employees have

access, known as “Freshbooks.”

       21.     The attorney rates listed are the same as those Class Counsel charges to their

hourly clients, and are comparable to (or less than) those charged by attorneys in Chicago with

similar background or experience. Moreover, these rates have been approved as reasonable by

several judges in this District, as well as in other federal courts throughout the country, in both

TCPA cases and other class action litigation.

       22.     The rates charged for our attorneys are the same rates we use for hourly clients,

which comprise a material part of the firm’s revenues. The hours, rates, and experience of the

particular attorneys from my firm involved in this matter are provided in the chart below:

          ATTORNEY               YEARS OF          HOURS              RATE            TOTAL
           (Position)           PRACTICE
 Jay Edelson                    16              114.7            $675.00          $77,422.50
 (Managing Partner)
 Rafey S. Balabanian            7               96.1             $550.00          $52,855.00
 (Partner)
 Ari J. Scharg                  4               308.5            $425.00          $131,112.50
 (Associate)
 Eve-Lynn Rapp                  3               80.8             $390.00          $31,512.00
 (Associate)
 Megan Lindsey                  1               57.1             $335.00          $19,128.50
 (Associate)
 Amir Missaghi                  N/A             220.0            $215.00          $47,300.00
 (Incoming Associate)
 Estimated Time Remaining                                                         $80,000.00
 TOTAL                                                                            $439,330.50

       23.     Based on my experience, I anticipate that approximately 200 hours equaling about

$80,000.00 of additional attorney and non-attorney time will be required through final approval

and administration of the settlement, should it be approved by the Court. The attorneys handling

this matter must still draft a final approval motion, prepare and attend the final fairness hearing,

contend with any potential objectors, continue to communicate with Class Members, and handle

various issues related to claims administration.


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       24.     In addition to this amount, Edelson LLC has also incurred $16,480.02 in

unreimbursed costs and expenses, which includes costs related to the initial filing, discovery,

subpoena production, mediation, transportation, and large copying jobs. A true and accurate

copy of my firm’s expense records are attached as Exhibit 1-C. My firm does not typically

charge for such things as Westlaw or LexisNexis research, which we adhered to in this case.

       25.     Until the settlement was reached, there was no pre-existing agreement or

discussion concerning an award or the potential for an award in exchange for the Class

Representative’s involvement in the case.

       26.     Nonetheless, Ms. Miller contributed her own time and effort in pursuing both her

individual claim as well as the class claims, exhibiting a willingness to participate and undertake

the responsibilities and risks attendant with bringing a representative action. Early in the case,

Ms. Miller even relinquished control of her personal cell phone (which received the text

messages at issue) so that Class Counsel could create a mirror image of its hard drive and

preserve relevant evidence.

       I declare under penalty of perjury that the foregoing is true and correct.


Executed on June 13, 2013, at Chicago, Illinois,




                                       Jay Edelson




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                    EXHIBIT 1-A
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                            EDELSON LLC FIRM RESUME
         EDELSON LLC is a plaintiff’s class action and commercial litigation firm with attorneys in
Illinois, Colorado, and California.

        Our attorneys have been recognized as leaders in these fields by state and federal
legislatures, national and international media groups, the courts, and our peers. Our reputation
for leadership in class action litigation has led state and federal courts to appoint us lead counsel
in many high-profile class action suits, including the recent Thomas the Tank Engine lead paint
class actions, the AT&T mobile content class actions, the home equity credit reduction cases,
and privacy class actions involving T-Mobile, Facebook, and Netflix. We have testified before
the United States Senate on class action issues and have repeatedly been asked to work on
federal and state legislation involving cellular telephony, privacy and other issues. Our attorneys
have appeared on dozens of national and international television and radio programs to discuss
our cases and class action and consumer protection issues more generally. Our attorneys speak
regularly at seminars on consumer protection and class action issues, lecture on class actions at
law schools and are asked to serve as testifying experts in cases involving class action and
consumer issues.

PLAINTIFFS’ CLASS AND MASS ACTION PRACTICE GROUP
         EDELSON LLC is a leader in plaintiffs’ class and mass action litigation, with a particular
emphasis on technology class actions, and has been called a “class action ‘super firm’” by a
national organization. (Decalogue Society of Lawyers, Spring 2010.) As has been recognized
by federal courts, our firm has an “extensive histor[y] of experience in complex class action
litigation, and [is a] well-respected law firm[] in the plaintiffs’ class action bar.” In re Pet Food
Prod. Liab. Litig., MDL Dkt. No. 1850, No. 07-2867 (NLH) (D.N.J. Nov. 18, 2008). A leading
arbitrator concurred: “The proof of [the firm’s] experience, reputation, and abilities is
extraordinary. . . . Each [of their cases] elaborates on the experience and unique success [they]
have had in achieving leading roles in the area of 'technology consumer protection class
actions.'” (Arbitration award in mobile content class action settlement, August 6, 2009) In
appointing our firm interim co-lead in one of the most high profile cases in the country, a federal
court pointed to our ability to be “vigorous advocates, constructive problem-solvers, and civil
with their adversaries." -In Re JPMorgan Chase Home Equity Line of Credit Litig., No. 10 C
3647 (N.D. Ill, July 16, 2010).

        We have been specifically recognized as "pioneers in the electronic privacy class action
field, having litigated some of the largest consumer class actions in the country on this issue." In
re Facebook Privacy Litig., No. C 10-02389 (N.D. Cal) (order appointing the firm interim co-
lead of privacy class action); see also In re Netflix Privacy Litigation, 5:11-cv-00379 (N.D. Cal.
Aug. 12, 2011) (appointing the sole lead counsel due, in part, to its “significant and particularly
specialized expertise in electronic privacy litigation and class actions[.]”)

         We have several sub-specialties within our plaintiffs’ class and mass action practice
group:

         Consumer Technology Class Actions: We have established the key precedent under the
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    Telephone Consumer Protection Act concerning text message spam, resulting in multiple
    eight figure settlements in recent years. We have prosecuted over 100 cases involving
    mobile content, settling numerous nationwide class actions, including against industry
    leader AT&T Mobility, collectively worth over a hundred million dollars.

           Representative Settlements:

           •      McFerren v. AT&T Mobility, LLC, No. 08-CV-151322 (Fulton County
                  Sup. Ct., GA): Lead counsel class action settlement involving 16 related
                  cases against largest wireless service provider in the nation. “No cap”
                  settlement provided virtually full refunds to a nationwide class of
                  consumers who alleged that unauthorized charges for mobile content were
                  placed on their cell phone bills.
           •      Paluzzi v. Cellco Partnership, No. 07 CH 37213 (Cook County, Illinois):
                  Lead counsel in class action settlement involving 27 related cases alleging
                  unauthorized mobile content charges. Case settled for $36 million.
           •      Lozano v. 20th Century Fox, No. 09-cv-05344 (N.D. Ill): Lead counsel in
                  class action alleging that defendants violated federal law by sending
                  unsolicited text messages to cellular telephones of consumers. Case
                  settled for $16 million.
           •      Gray v. Mobile Messenger Americas, Inc., No. 08-CV-61089 (S.D. Fla.):
                  Lead counsel in case alleging unauthorized charges were placed on cell
                  phone bills. Case settled for $12 million.
           •      Parone v. m-Qube, Inc. No. 08 CH 15834 (Cook County, Illinois): Lead
                  counsel in class action settlement involving over 2 dozen cases alleging
                  the imposition of unauthorized mobile content charges. Case settled for
                  $12.254 million.
           •      Rojas v CEC, No. 1:10-cv-05260 (N.D. Ill): Lead counsel in class action
                  alleging that defendants violated federal law by sending unsolicited text
                  messages to cellular telephones of consumers.          Case settled for
                  $19,999,400.
           •      Kramer v. B2Mobile, et al, No. 0-cv-02722-CW (N.D. Cal.): Lead
                  counsel in class action alleging that defendants violated federal law by
                  sending unsolicited text messages to cellular telephones of consumers.
                  Case settled for $12.2 million.
           •      Satterfield v. Simon & Schuster, No. C 06 2893 CW (N.D. Cal.). Co-lead
                  counsel in class action alleging that defendants violated federal law by
                  sending unsolicited text messages to cellular telephones of consumers.
                  Case settled for $10 million.
           •      Williams, et al. v. Motricity, Inc. et al., Case No. 09 CH 19089 (Cook
                  County, Illinois): Lead counsel in class action settlement involving 24
                  cases alleging the imposition of unauthorized mobile content charges.
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                  Case settled for $9 million.
           •      VanDyke v. Media Breakaway, LLC, No. 08 CV 22131 (S.D. Fla.): Lead
                  counsel in class action settlement alleging unauthorized mobile content
                  charges. Case settled for $7.6 million.
           •      Weinstein, et al. v. Airit2me, Inc., Case No. 06 C 0484 (N.D. Ill): Co-lead
                  counsel in class action alleging that defendants violated federal law by
                  sending unsolicited text messages to cellular telephones of consumers.
                  Case settled for $7 million.
           •      Gresham v. Cellco Partnership, No. BC 387729 (Los Angeles Sup. Ct.):
                  Lead counsel in case alleging unauthorized charges were placed on cell
                  phone bills. Settlement provided class members with full refunds.
           •      Duffy v. Nevis Mobile, LLC, No. 08 CH 21376 (Cook County, IL): Class
                  counsel in certified class action against mobile content provider for
                  unauthorized mobile content charges resulting in default judgment over
                  $10 million.
           •      Zurakov v. Register.com, No. 01-600703 (New York County, NY): Co-
                  lead counsel in a class action brought on behalf of an international class of
                  over one million members against Register.com for its deceptive practices
                  in registering Internet domain names. Settlement required Register.com to
                  fully disclose its practices and provided the class with relief valued in
                  excess of $17 million.

    Privacy/Data Loss Class Actions: We have litigated numerous class actions involving
    issues of first impression against Facebook, Apple, Netflix, Sony, Red Box, Pandora,
    Sears, Storm 8, Google, T-Mobile, Microsoft and others involving the failure to protect
    customers’ private information, some resulting from security breaches.

           Representative Cases:

           •      In re Netflix Privacy Litigation, 5:11-cv-00379 (N.D. Cal.): Sole lead
                  counsel in suit alleging that defendant violated the Video Privacy
                  Protection Act by illegally retaining customer viewing information. $9
                  million dollar cy pres settlement has been preliminarily approved.
           •      In re Facebook Privacy Litigation, 10-cv-02389 (N.D. Cal.): Appointed
                  co-lead counsel in suit alleging that Facebook unlawfully shared its users'
                  sensitive personally identifiable information with Facebook's advertising
                  partners.
           •      Standiford v. Palm, No. 5:09-cv-05719-LHK (N.D. Cal.): Sole lead
                  counsel in data loss class action, resulting in $640,000 settlement.
           •      In re Zynga Privacy Litigation, 10-cv-04680 (N.D. Cal.): Appointed co-
                  lead counsel in suit against gaming application designer for the alleged
                  unlawful disclosure of its users' personally identifiable information to
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                   advertisers and other third parties.
           •       Gaos v. Google, 10-cv-04809 (N.D. Cal.): Part of a team of attorneys in
                   suit alleging that Google unlawfully disclosed its users' search queries to
                   website owners and other third parties.
           •       In re Sidekick Litig., No. C 09-04854-JW (N.D. Cal.): Co-lead counsel in
                   cloud computing data loss case against T-Mobile and Microsoft.
                   Settlement provided the class with potential settlement benefits valued at
                   over $12 million.
           •       Abrams v. Facebook, Inc., No. 07-05378 (N.D. Cal.): Lead counsel in
                   injunctive settlement concerning the transmission of allegedly
                   unauthorized mobile content.
           •       Desantis v. Sears, 08 CH 00448 (Cook County, IL): Lead counsel in
                   injunctive settlement alleging national retailer allowed purchase
                   information to be publicly available through the internet.

    Products Liability Class Actions: We have been appointed lead counsel in state and
    federal products liability class settlements, including a $30, million settlement resolving
    the “Thomas the Tank Engine” lead paint recall cases and a $32 million settlement
    involving the largest pet food recall in the history of the United States and Canada.

           Representative Settlements:

           •       Barrett v. RC2 Corp., No. 07 CH 20924 (Cook County, IL): Co-lead
                   counsel in lead paint recall case involving Thomas the Tank toy trains.
                   Settlement is valued at over $30 million and provided class with full cash
                   refunds and reimbursement of certain costs related to blood testing.

           •       In re Pet Food Products Liability Litig., No. 07-2867 (D. N.J.): Part of
                   mediation team in class action involving largest pet food recall in United
                   States history. Settlement provided $24 million common fund and $8
                   million in charge backs.

    Banking Class Actions: EDELSON LLC has been at the forefront of class action
    litigation arising in the aftermath of the federal bailouts of the banks. Its suits include
    claims that the certain banks unlawfully suspended home credit lines based on pre-textual
    reasons, and that certain banks have failed to honor loan modification programs. We
    achieved the first federal appellate decision in the country recognizing the right of
    borrowers to enforce HAMP trial plans under state law. The court noted that "Prompt
    resolution of this matter is necessary not only for the good of the litigants but for the
    good of the Country." Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547, 586 (7th Cir.
    2012) (Ripple, J., concurring).

           Representative Cases:
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           •      Hamilton v. Wells Fargo Bank, N.A., 4:09-cv-04152-CW (N.D. Cal.).
                  Lead counsel in class actions challenging Wells Fargo’s suspensions of
                  home equity lines of credit. Nationwide settlement restores access to over
                  $1 billion in credit and provides industry leading service enhancements
                  and injunctive relief.

           •      In re JP Morgan Chase Bank Home Equity Line of Credit Litig., 10-cv-
                  3647 (N.D. Ill.): Court appointed interim co-lead counsel in nationwide
                  putative class action alleging illegal suspensions of home credit lines.

           •      Levin v. Citibank, N.A., C-09-0350 MMC (N.D. Cal.): Court appointed
                  interim co-lead counsel in nationwide putative class action alleging illegal
                  suspensions of home credit lines. Preliminarily-approved settlement
                  restores hundreds of millions of dollars in credit in addition to cash
                  payments.

           •      Wigod v. Wells Fargo, No. 10-cv-2348 (N.D. Ill.):         suing to enforce
                  HAMP trial plans.

           •      Settled numerous consumer class actions alleging fraud or other
                  unconscionable behavior by banks and other lenders.

    General Consumer Protection Class Actions: We have successfully prosecuted
    countless class action suits against computer software companies, technology companies,
    health clubs, dating agencies, phone companies, debt collectors, and other businesses on
    behalf of consumers.

           Representative Settlements:

           •      Van Tassell v. UMG, No. 1:10-cv-2675 (N.D. Ill): Lead counsel in
                  negative option marketing class action. Case settled for $2.85 million.

           •      McK Sales Inc. v. Discover Bank, No. 1:10-cv-02964 (N.D. Ill): Lead
                  counsel in class action alleging deceptive marketing aimed at small
                  businesses. Case settled for $6 million.

           •      Farrell v. OpenTable, No 3:11-cv-01785-si (N.D. Cal.): Lead counsel in
                  gift certificate expiration case. Settlement netted class over $3 million in
                  benefits.

           •      Ducharme v. Lexington Law, No. 10-cv-2763-crb (N.D. Cal): Lead
                  counsel in CROA class action. Settlement resulted in over $6 million of
                  benefits to the class.

           •      Drymon v. Cyberdefender, No. 11 CH 16779 (Cook County, IL): Lead
                  counsel in class action alleging that defendant deceptively designed and
                  marketed its computer repair software. Case settled for $9.75 million.
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           •       Pulcini v. Bally Total Fitness Corp., No. 05 CH 10649 (Cook County, IL):
                   Co-lead counsel in four class action lawsuits brought against two health
                   clubs and three debt collection companies. A global settlement provided
                   the class with over $40 million in benefits, including cash payments, debt
                   relief, and free health club services.

           •       Kozubik v. Capital Fitness, Inc., 04 CH 627 (Cook County, IL): Co-lead
                   counsel in state-wide suit against a leading health club chain, which settled
                   in 2004, providing the over 150,000 class members with between $11
                   million and $14 million in benefits, consisting of cash refunds, full debt
                   relief, and months of free health club membership.

           •       Kim v. Riscuity, No. 06 C 01585 (N.D. Ill): Co-lead counsel in suit
                   against a debt collection company accused of attempting to collect on
                   illegal contracts. The case settled in 2007, providing the class with full
                   debt relief and return of all money collected.

           •       Jones v. TrueLogic Financial Corp., No. 05 C 5937 (N.D. Ill): Co-lead
                   counsel in suit against two debt collectors accused of attempting to collect
                   on illegal contracts. The case settled in 2007, providing the class with
                   approximately $2 million in debt relief.

           •       Fertelmeyster v. Match.com, No. 02 CH 11534 (Cook County, IL): Co-
                   lead counsel in a state-wide class action suit brought under Illinois
                   consumer protection statutes. The settlement provided the class with a
                   collective award with a face value in excess of $3 million.

           •       Cioe v. Yahoo!, Inc., No. 02 CH 21458 (Cook County, IL): Co-lead
                   counsel in a state-wide class action suit brought under state consumer
                   protection statutes. The settlement provided the class with a collective
                   award with a face value between $1.6 million and $4.8 million.

    Insurance Class Actions: We have prosecuted and settled multi-million dollar suits
    against J.C. Penney Life Insurance for allegedly illegally denying life insurance benefits
    under an unenforceable policy exclusion and against a Wisconsin insurance company for
    terminating the health insurance policies of groups of self-insureds.

           Representative Settlements:

           •       Holloway v. J.C. Penney, No. 97 C 4555, (N.D. Ill.): One of the primary
                   attorneys in a multi-state class action suit alleging that the defendant
                   illegally denied life insurance benefits to the class. The case settled in or
                   around December of 2000, resulting in a multi-million dollar cash award
                   to the class.
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               •      Ramlow v. Family Health Plan (Wisc. Cir. Ct., WI): Co-lead counsel in a
                      class action suit challenging defendant's termination of health insurance to
                      groups of self-insureds. The plaintiff won a temporary injunction, which
                      was sustained on appeal, prohibiting such termination and eventually
                      settled the case ensuring that each class member would remain insured.

       Mass/Class Tort Cases: Our attorneys were part of a team of lawyers representing a
       group of public housing residents in a suit based upon contamination related injuries, a
       group of employees exposed to second hand smoke on a riverboat casino, and a class of
       individuals suing a hospital and national association of blood banks for failure to warn of
       risks related to blood transfusions.

               Representative Cases:

               •      Aaron v. Chicago Housing Authority, 99 L 11738, (Cook County, IL):
                      Part of team representing a group of public housing residents bringing suit
                      over contamination-related injuries. Case settled on a mass basis for over
                      $10 million.

               •      Januszewski v. Horseshoe Hammond, No. 2:00CV352JM (N.D. Ind.):
                      Part of team of attorneys in mass suit alleging that defendant riverboat
                      casino caused injuries to its employees arising from exposure to second-
                      hand smoke.

        The firm's cases regularly receive attention from local, national, and international media.
Our cases and attorneys have been reported in the Chicago Tribune, USA Today, the Wall Street
Journal, the New York Times, the LA Times, by the Reuters and UPI news services, and BBC
International. Our attorneys have appeared on numerous national television and radio programs,
including ABC World News, CNN, Fox News, NPR, and CBS Radio, as well as television and
radio programs outside of the United States. We have also been called upon to give
congressional testimony and other assistance in hearings involving our cases.

GENERAL COMMERCIAL LITIGATION
        Our attorneys have handled a wide range of general commercial litigation matters, from
partnership and business-to-business disputes, to litigation involving corporate takeovers. We
have handled cases involving tens of thousands of dollars to “bet the company” cases involving
up to hundreds of millions of dollars. Our attorneys have collectively tried hundreds of cases, as
well as scores of arbitrations and mediations. All of our attorneys have regularly practiced in
state and federal trial and appellate courts.



OUR ATTORNEYS
JAY EDELSON is the founder and Managing Partner of EDELSON LLC. He has been
recognized as a leader in class actions, technology law, corporate compliance issues and
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consumer advocacy by his peers, the media, state and federal legislators, academia and courts
throughout the country.

Jay has been appointed lead counsel in numerous state, federal, and international class actions,
resulting in hundreds of millions of dollars for his clients. He is regularly asked to weigh in on
federal and state legislation involving his cases. He testified to the U.S. Senate about the largest
pet food recall in the country's history and is advising state and federal politicians on consumer
issues relating to the recent federal bailouts, as well as technology issues, such as those involving
mobile marketing. Jay also counsels companies on legal compliance and legislative issues in
addition to handling all types of complex commercial litigation.

Jay has litigated class actions that have established precedent concerning the ownership rights of
domain name registrants, the applicability of consumer protection statutes to Internet businesses,
and the interpretation of numerous other state and federal statutes including the Telephone
Consumer Protection Act and the Video Privacy Protection Act. As lead counsel, he has also
secured settlement in cases of first impression involving Facebook, Microsoft, AT&T and
countless others, collectively worth hundreds of millions of dollars.

In addition to technology based litigation, Jay has been involved in a number of high-profile
"mass tort" class actions and product recall cases, including cases against Menu Foods for selling
contaminated pet food, a $30 million class action settlement involving the Thomas the Tank toy
train recall, and suits involving damages arising from second-hand smoke.

In 2009, Jay was named one of the top 40 Illinois attorneys under 40 by the Chicago Daily Law
Bulletin. In giving Jay that award, he was heralded for his history of bringing and winning
landmark cases and for his “reputation for integrity” in the “rough and tumble class action
arena.” In the same award, he was called “one of the best in the country” when it “comes to legal
strategy and execution.” Also in 2009, Jay was included in the American Bar Association’s “24
hours of Legal Rebels” program, where he was dubbed one of “the most creative minds in the
legal profession” for his views of associate training and firm management. In 2010, he was
presented with the Annual Humanitarian Award in recognition of his “personal integrity,
professional achievements, and charitable contributions” by the Hope Presbyterian Church. In
2011, he was selected as an Illinois Super Lawyer and, separately, as a top Illinois class action
lawyer by Benchmark Plaintiff.

Jay is frequently asked to participate in legal seminars and discussions regarding the cases he is
prosecuting, including serving as panelist on national symposium on tort reform and, separately,
serving as a panelist on litigating high-profile cases. He has also appeared on dozens of
television and radio programs to discuss his cases. He has taught classes on class action law at
Northwestern Law School and The John Marshall Law School, and has co-chaired a 2-day
national symposium on class action issues. He has been an adjunct professor, teaching a seminar
on class action litigation at Chicago-Kent College of Law since 2010.

Jay is a graduate of Brandeis University and the University of Michigan Law School.

RYAN D. ANDREWS is a Partner at EDELSON LLC, and the Chair of the Telecommunications
Practice Group. Mr. Andrews has been appointed class counsel in numerous state and federal
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class actions nationwide that have resulted in nearly $100 million dollars in refunds to
consumers, including Satterfield v. Simon & Schuster, Inc., No. C 06 2893 CW (N.D. Cal.),
Gray v. Mobile Messenger Americas, Inc., No. 08-CV-61089 (S.D. Fla.), Lofton v. Bank of
America Corp., No. 07-5892 (N.D. Cal.), Paluzzi v. Cellco Partnership, No. 07 CH 37213 (Cook
County, Ill.), Parone v. m-Qube, Inc. No. 08 CH 15834 (Cook County, Ill.), and Kramer v.
Autobytel, Inc., No. 10-cv-2722 (N.D. Cal. 2010).

In addition, Mr. Andrews has achieved groundbreaking court decisions protecting consumers
through the application of the Telephone Consumer Protection Act to emerging text-messaging
technology. Representative reported decisions include: Lozano v. Twentieth Century Fox, 702 F.
Supp. 2d 999 (N.D. Ill. 2010), Satterfield v. Simon & Schuster, Inc. 569 F.3d 946 (9th Cir.
2009), and Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165 (N.D. Cal. 2010), In re Jiffy Lube
Int’l Text Spam Litig, --- F. Supp. 2d ---, No. 11-md-2261, 2012 WL 762888 (S.D. Cal. March 9,
2012).

Mr. Andrews received his J.D. with High Honors from the Chicago-Kent College of Law and
was named Order of the Coif. Recently, Mr. Andrews has returned to Chicago-Kent as an
Adjunct Professor of Law, teaching a third-year seminar on Class Actions. While in law school,
Mr. Andrews was a Notes & Comments Editor for The Chicago-Kent Law Review, as well as a
teaching assistant for both Property Law and Legal Writing courses. Mr. Andrews externed for
the Honorable Joan B. Gottschall in the United State District Court for the Northern District of
Illinois, and earned CALI awards for the highest grade in five classes.

A native of the Detroit area, Mr. Andrews graduated from the University of Michigan, earning
his B.A., with distinction, in Political Science and Communications.

Mr. Andrews is licensed to practice in Illinois state courts, the United States District Court for
the Northern District of Illinois, the U.S. Court of Appeals for the Seventh Circuit, and the U.S.
Court of Appeals for the Ninth Circuit.

RAFEY S. BALABANIAN is a Partner and Group Chair at EDELSON LLC. Rafey focuses his
practice on prosecuting consumer technology class actions, banking class actions, and general
consumer class actions. He is also co-chair of EDELSON LLC’s business litigation group.

On the plaintiff’s side, Rafey has been the court appointed lead counsel in numerous high-stakes
class action litigation and has obtained settlements in excess of $50 million.

On the business litigation side, Rafey has represented individual and corporate clients in a wide
variety of complex cases, including commercial disputes seeking damages of $60 million and
several “bet the company” cases.

Rafey has first-chaired both jury and bench trials, engaged in extensive motion practice, and
acted as lead counsel in several mediations and arbitrations.

Rafey received his J.D. from the DePaul University College of Law in 2005. While in law
school, Rafey received a certificate in international and comparative law and earned the CALI
award for the highest grade in advanced trial advocacy. Rafey received his B.A. in History, with
distinction, from the University of Colorado – Boulder in 2002.
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STEVEN LEZELL WOODROW is a Partner and Group Chair at EDELSON LLC and the firm’s
hiring attorney. Steven has successfully litigated and settled a number of consumer protection
cases through trial, engaged in extensive motion practice, drafted appellate briefs, prosecuted
class actions and participated in multi-session mediations.

Prior to joining the firm, Steven was a litigator at a Chicago boutique focusing on consumer
protection matters, real estate disputes, fraudulent transfers in bankruptcy and the prosecution of
white-knight mortgage fraud cases.

Steven received his J.D. from Chicago-Kent College of Law with High Honors, Order of Coif,
while earning his certificate in litigation and alternative dispute resolution. During law school, he
served as a Judicial Extern for the Honorable Ann C. Williams on the Seventh Circuit Court of
Appeals and as President of the Student Bar Association. Steven also served as a Notes and
Comments Editor for THE CHICAGO-KENT LAW REVIEW and represented Chicago-Kent at the
National Sports Law Moot Court Competition in New Orleans in 2004. Steven was awarded the
ABA-ALI Scholarship and Leadership Award for best representing the combination of
leadership and scholarship in his graduating class and also received the Lowell H. Jacobson
Memorial Scholarship, which is awarded competitively to a student from one of the law schools
in the Seventh Circuit to recognize personal commitment and achievement.

Steven received his B.A. in Political Science, with Distinction, from the University of
Michigan—Ann Arbor in 2002.

SEAN P. REIS is Of Counsel to EDELSON LLC. Sean is an experience trial attorney and
business litigator. Sean has experience in a wide-range of litigation matters, including those
involving trade secrets, real estate fraud, employment, and consumer issues. Sean has tried
sixteen cases, including several multi-week jury trials.

Prior to joining EDELSON LLC, Sean was trained at an international law firm and later founded
his own practice. In 1993, Sean graduated from University of California at San Diego with a
degree in quantative economics. Following that Sean graduated from Rutgers University School
of Law, Newark, where he was the business editor of the Rutgers Law Review and where he
received the graduation for appellate advocacy.

DAVID DALE is an Associate at EDELSON LLC, where he focuses on plaintiff’s privacy class
actions and litigation.

David received his J.D., magna cum laude, from the John Marshall School of Law, where he was
a member of the Law Review, Trial Advocacy Council, and a Teaching Assistant for Prof.
Rogelio Lasso in several torts courses. While in law school, David served as a judicial extern to
the Honorable James F. Holderman, Chief Judge of the United States District Court for the
Northern District of Illinois.

David attended the University of Missouri, where he graduated with a B.J. in Journalism in 2004.
Prior to choosing law school, David worked in the fields of marketing, advertising and public
relations for the University of Missouri.
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CHRISTOPHER L. DORE is an Associate at EDELSON LLC and a member of the Technology
and Privacy Practice Group. Chris focuses his practice on emerging consumer technology issues,
as well as prosecuting unsolicited text message and online fraud cases.

Chris has been appointed class counsel in multiple class actions, including ground breaking
technology, text-spam, and fraudulent marketing cases. (Turner v. Storm8, LLC, (09-cv-05234)
(N.D. Cal.) and Espinal v Burger King Corporation, (09-20982) (S.D. Fla.)).

Prior to joining EDELSON LLC, Chris worked for two large defense firms in the areas of
employment and products liability.

Chris graduated magna cum laude from The John Marshall Law School, where he served as the
Executive Lead Articles for the Law Review, as well as a team member for the D.M. Harish
International Moot Court Competition in Mumbai, India. Chris has since returned to his alma
mater to lecture on current issues in class action litigation.

Before entering law school, Chris received his Masters degree in Legal Sociology, graduating
magna cum laude from the International Institute for the Sociology of Law, located in Onati,
Spain. Chris received his B.A. in Legal Sociology from the University of California, Santa
Barbara.

CHANDLER GIVENS is an Associate at EDELSON LLC, where his practice focuses on
technology and privacy class actions. His lawsuits have centered on fraudulent software
development, unlawful tracking of consumers through mobile devices and computers, and illegal
data retention.

Chandler graduated from the University of Pittsburgh School of Law. While in law school, he
was a research assistant for Cyberlaw Professor Dr. Kevin Ashley, and a judicial extern for the
Honorable David S. Cercone of the United States District Court for the Western District of
Pennsylvania. Chandler received CALI awards for the highest course grades in Negotiations as
well as Telecommunications Law. He graduated cum laude from Virginia Tech, with a B.S. in
business information technology, with a focus on computer-based decision support
systems. Chandler sits on the ABA committees for Information Security and e-Discovery.

Before joining the legal profession, Chandler worked as a systems analyst. He is regularly
invited to speak on issues ranging from network security to consumer privacy and Internet fraud.
Chandler currently leads a team of technology investigative researchers at the firm.

Prior to starting with the firm, Chandler interned at the Virginia Attorney General’s Office and
the U.S. Department of Justice in Washington, D.C.

ALICIA HWANG is an Associate at EDELSON LLC. Alicia practices in the area of consumer
class action and general litigation.

Alicia received her J.D. from the Northwestern University School of Law in May 2012, where
she was an articles editor for the Journal of Law and Social Policy. During law school, Alicia
was a legal intern for the Chinese American Service League, served as president of the Asian
Pacific American Law Student Association and the Student Animal Legal Defense Fund, and
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was Chair of the Student Services Committee. She also worked as a student in the Northwestern
Entrepreneurship Law Clinic and Complex Civil Litigation and Investor Protection Clinic.

Prior to joining EDELSON LLC, Alicia worked as an Executive Team Leader for the Target
Corporation, as well as a public relations intern for a tourism-marketing agency in London.

Alicia graduated magna cum laude from the University of Southern California, earning her B.A.
in Communication in 2007. She is a member of the Phi Beta Kappa honor society.

NICK LARRY is an Associate at EDELSON LLC. Nick practices in the area of consumer class
action and general litigation.

Nick received his J.D., cum laude, from Northwestern University School of Law, where he was a
senior editor of the Northwestern University Journal of International Law and Business.

Nick attended Michigan State University, where he graduated with a B.A. in General Business
Administration/Pre-law in 2008 and played on the school’s rugby team.

MEGAN LINDSEY is an Associate at EDELSON LLC. Megan practices in the area of consumer
class action, focusing on complex class actions in the banking industry.

Prior to joining EDELSON LLC, Megan worked for several years as a commercial loan
underwriter and portfolio officer at Merrill Lynch, Pierce, Fenner & Smith. Megan also worked
as an analyst in the troubled asset group at Bank of America, helping to monitor and restructure
high-risk loans.

Megan received her J.D. from Chicago-Kent College of Law in May 2011. During law school
Megan externed for the Honorable Judge Bauer in the Seventh Circuit Court of Appeals and
served as Vice President-Evening Division of the Student Bar Association and Vice President of
the Moot Court Honor Society. Megan also represented Chicago-Kent at the National First
Amendment Moot Court Competition in Nashville, Tennessee and the National Cultural Heritage
Law Moot Court Competition in Chicago, Illinois, and earned the CALI award for obtaining the
highest grade in Legal Writing I, Legal Writing II and Trial Advocacy II courses.

Megan graduated with High Honors from DePaul University in July 2005, earning her B.S. in
Finance.

DAVID I. MINDELL is an Associate at EDELSON LLC. David practices in the area of
technology and privacy class actions.

David has worked on cases involving fraudulent software products, unlawful collection and
retention of consumer data, and mobile-device privacy violations. David also serves as a
business consultant to private companies at all stages of development, from start-up to exit.

Prior to joining EDELSON LLC, David co-founded several technology companies that reached
multi-million dollar valuations within 12 months of launch. David has advised or created
strategic development and exit plans for a variety of other technology companies.
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While in law school, David was a research assistant for University of Chicago Law School
Kauffman and Bigelow Fellow, Matthew Tokson, and for the predominate cyber-security
professor, Hank Perritt at the Chicago-Kent College of Law. David’s research included
cyberattack and denial of service vulnerabilities of the Internet, intellectual property rights, and
privacy issues.

David has given speeches related to his research to a wide-range of audiences.

JOHN OCHOA is an Associate at EDELSON LLC. John’s practice focuses on consumer class
action litigation.

John graduated magna cum laude from the John Marshall Law School in May, 2010 and served
as Managing Editor for the John Marshall Law Review. His student Comment, which examines
bicycling and government tort immunity in Illinois, appears in Vol. 43, No. 1 of the JOHN
MARSHALL LAW REVIEW. While in law school, John took advantage of various scholastic
opportunities, serving as a research assistant, externing with Judge Thomas Hoffman at the
Illinois Court of Appeals, and competing in the ABA National Appellate Advocacy Competition.
John was awarded a Herzog scholarship for his academic performance and earned CALI awards
for the highest grade in Torts, Property, and Administrative Law.

He received his B.A. with Honors in Political Science from the University of Iowa in 2004.

EVE-LYNN RAPP is an Associate at EDELSON LLC. Eve-Lynn focuses her practice in the areas
of consumer and technology class action litigation.

Prior to joining EDELSON LLC, Eve-Lynn was involved in numerous class action cases in the
areas of consumer and securities fraud, debt collection abuses and public interest litigation. Eve-
Lynn has substantial experience in both state and federal courts, including successfully briefing
issues in both the United States and Illinois Supreme Courts.

Eve-Lynn received her J.D. from Loyola University of Chicago-School of Law, graduating cum
laude, with a Certificate in Trial Advocacy. During law school, Eve-Lynn was an Associate
Editor of Loyola’s International Law Review and externed as a “711" at both the Cook County
State’s Attorney’s Office and for Cook County Commissioner Larry Suffredin. Eve-Lynn also
clerked for both civil and criminal judges (The Honorable Judge Yvonne Lewis and Plummer
Lott) in the Supreme Court of New York.

Eve-Lynn graduated from the University of Colorado, Boulder, with distinction and Phi Beta
Kappa honors, receiving a B.A. in Political Science.

BENJAMIN H. RICHMAN is an Associate at EDELSON LLC and is a member of the firm’s
Corporate Governance and Business Litigation Practice Group. He handles plaintiff’s-side
consumer class actions, focusing mainly on technology-related cases, represents corporate
defendants in class actions, and handles general commercial litigation matters.
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On the plaintiff’s side, Ben has brought industry-changing lawsuits involving the marketing
practices of the mobile industry, print and online direct advertisers, and Internet companies. He
has successfully prosecuted cases involving privacy claims and the negligent storage of
consumer data. His suits have also uncovered complex fraudulent methodologies of Web 2.0
companies, including the use of automated bots to distort the value of consumer goods and
services. In total, his suits have resulted in hundreds of millions of dollars to consumers.

On the defense side, Ben has represented large institutional lenders in the defense of employment
class actions. He also routinely represents technology companies in a wide variety of both class
action defense and general commercial litigation matters.

Ben received his J.D. from The John Marshall Law School, where he was an Executive Editor of
the Law Review and earned a Certificate in Trial Advocacy. While in law school, Ben served as
a judicial extern to the Honorable John W. Darrah of the United States District Court for the
Northern District of Illinois, in addition to acting as a teaching assistant for Prof. Rogelio Lasso
in several torts courses. Ben has since returned to the classroom as a guest-lecturer on issues
related to class actions, complex litigation and negotiation. He also lectures incoming law
students on the core first year curriculums. Before entering law school, Ben graduated from
Colorado State University with a B.S. in Psychology.

Ben is the director of EDELSON LLC’S Summer Associate Program.

ARI J. SCHARG is an Associate at EDELSON LLC. He handles technology-related class
actions, focusing mainly on cases involving the unlawful geo-locational tracking of consumers
through their mobile devices, the illegal collection, storage, and disclosure of personal
information, fraudulent software products, data breaches, and text message spam. His
settlements have resulted in tens of millions of dollars to consumers, as well as industry-
changing injunctive relief. Ari has been appointed class counsel by state and federal courts in
several nationwide class action settlements, including Webb v. Cleverbridge, et al., 11-cv-4141
(N.D. Ill.), Missaghi v. Blockbuster, 11-cv-2559 (D. Minn.), Ledet v. Ascentive, 11-cv-294 (E.D.
Penn.), and Drymon v. CyberDefender, 11 CH 16779 (Cook Cnty, Illinois), and was appointed
sole-lead class counsel in Loewy v. Live Nation, 11-cv-4872 (N.D. Ill.), where the court praised
his work as “impressive” and noted that he “understand[s] what it means to be on a team that’s
working toward justice.” Ari was selected as an Illinois Rising Star (2013) by Super Lawyers.

Prior to joining the firm, Ari worked as a litigation associate at a large Chicago firm, where he
represented a wide range of clients including Fortune 500 companies and local municipalities.
His work included representing the Cook County Sheriff’s Office in several civil rights cases and
he was part of the litigation team that forced Craigslist to remove its “Adult Services” section
from its website.

Ari is very active in community groups and legal industry associations. He is a member of the
Board of Directors of the Chicago Legal Clinic, an organization that provides legal services to
low-income families in the Chicago area. Ari acts as Outreach Chair of the Young Adult
Division of American Committee for the Shaare Zedek Medical Center in Jerusalem, and is
actively involved with the Anti-Defamation League.
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Ari received his B.A. in Sociology from the University of Michigan – Ann Arbor and graduated
magna cum laude from The John Marshall Law School where he served as a Staff Editor for THE
JOHN MARSHALL LAW REVIEW and competed nationally in trial competitions. During law
school, he also served as a judicial extern to The Honorable Judge Bruce W. Black of the U.S.
Bankruptcy Court for the Northern District of Illinois.

BEN THOMASSEN is an Associate at EDELSON LLC and is a member of the Banking and
Financial Services Practice Group.

Ben received his J.D., magna cum laude, from Chicago-Kent College of Law, where he also
earned his certificate in Litigation and Alternative Dispute Resolution and was named Order of
the Coif. At Chicago-Kent, Ben was Vice President of the Moot Court Honor Society and
competed in both the ABA National Appellate Advocacy and National Moot Court
Competitions. Among other scholarships and awards, Ben earned seven CALI awards for the
highest grade in Appellate Advocacy, Business Organizations, Conflict of Laws, Family Law,
Personal Income Tax, Property, and Torts.

Before his legal career, Ben worked in and around the Chicago and Washington, D.C. areas,
including freelance and firm-based work as a website designer/developer, and many years
experience as a film projectionist and media technician for commercial theatres, museums, and
educational institutions. Ben received his Bachelor of Arts, summa cum laude, from St. Mary’s
College of Maryland and his Master of Arts from the University of Chicago.
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                     EXHIBIT 1-B
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                     EXHIBIT 1-C
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Edelson LLC
350 North LaSalle                                  INVOICE
Suite 1300
Chicago IL 60654
United States




Class Action Cases                                                   Invoice #:                                       0000089
@edelson.com @edelson.com
                                                                     Date:                                       June 13, 2013
                                                                     Amount Due USD:                                $16,480.02




    Item                                Description                                 Unit Cost ($)     Quantity     Price ($)
 Expense     [Miller v. Red Bull 06/05/13] Mediation                                     1,155.00        1           1,155.00
 Expense     [Miller v. Red Bull 04/05/13] Mediation: JAMS                               1,058.75        1           1,058.75
 Expense     [Miller v. Red Bull 03/13/13] Copies/Binding/Production: Verity                42.00        1             42.00
             Group
 Expense     [Miller v. Red Bull 01/31/13] Mediation: JAMS                               1,338.75        1           1,338.75
 Expense     [Miller v. Red Bull 01/07/13] FedEx                                            24.50        1             24.50
 Expense     [Miller v. Red Bull 01/07/13] Mediation: JAMS - Wayne Anderson              5,099.03        1           5,099.03
 Expense     [Miller v. Red Bull 11/07/12] Hotel: Megan Lindsey                            463.24        1            463.24
 Expense     [Miller v. Red Bull 11/07/12] Taxi & Parking, DIA Parking                      63.00        1             63.00
 Expense     [Miller v. Red Bull 11/01/12] Copies/Binding/Production: 24 seven              44.15        1             44.15
             discovere
 Expense     [Miller v. Red Bull 10/31/12] Service of Process: LaSalle Process             210.00        1            210.00
             Servers - Subpoena to Neustar
 Expense     [Miller v. Red Bull 10/16/12] Subpoena: Neustar, Inc.                          40.00        1             40.00
 Expense     [Miller v. Red Bull 10/15/12] Mediation: JAMS, Inc.                         6,150.00        1           6,150.00
 Expense     [Miller v. Red Bull 10/12/12] Flight: Megan Lindsey                           791.60        1            791.60




                                                                                          Subtotal:                 16,480.02
                                                                                             Total:                 16,480.02
                                                                                      Amount Paid:                      -0.00

                                                                                  Balance Due USD:                $16,480.02



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